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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

In Re:
                                                 Chapter 7
David T. Radosti,                                Case No. 9:19-bk-00774-FMD
Shannon E. Radosti

          Debtor(s).
                                            /

              TRUSTEE'S OBJECTION TO CLAIM OF EXEMPTIONS

                              NOTICE OF OPPORTUNITY TO
                           OBJECT AND REQUEST FOR HEARING
       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party in interest files a response within 21
days from the date set forth on the attached proof of service, plus an additional three days
for service if any party was served by U.S. Mail.
        If you object to the relief requested in this paper, you must file a response with the
Clerk of the Court at United States Bankruptcy Court, 801 N. Florida Avenue, Suite 555,
Tampa, FL 33602, and serve a copy on the movant's attorney, Luis E. Rivera, II, P.O. Box
1026, Fort Myers, FL 33902, and any other appropriate persons within the time allowed. If
you file and serve a response within the time permitted, the Court will either schedule and
notify you of a hearing or consider the response and grant or deny the relief requested
without a hearing.
      If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.

         The Trustee, Luis E. Rivera, II, hereby objects to the claim of exempt property consisting
of everything listed on Schedule C filed by the Debtor(s), except the annuity and 457(b) plan, for
the following reason(s):

         1.     Trustee objects to Debtor, David T. Radosti's claim of exemption of the 2011
Mercedes ML 350 pursuant to Section 222.25(1), Florida Statutes, on the basis that Debtor has
no ownership interest in the vehicle.

         2.     Additionally, Trustee objects to the value of the personal property, including the
bank account(s), and will arrange an appraisal thereof to determine the exact amount of the
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overage since he asserts the Debtors exceed their entitlement to a claim of exemption under
Section 222.25(1) & (4), Florida Statutes and Article X, Section 4 of the Florida Constitution.

         3.     If the Court sustains the objection, Debtor may contact the Trustee to discuss
purchasing the estate’s interest in the Property.

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 19, 2019, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system. I further certify that the foregoing was
provided electronically or by U.S. Mail to: David T. Radosti, Shannon E. Radosti, 3825 Groton
Court, Naples, FL 34112; Gregory A. Champeau, Champeau Law, P.A., 999 Vanderbilt Beach
Rd., Suite 232, Naples, FL 34108; and U.S. Trustee, 501 East Polk St., Suite 1200, Tampa, FL
33602.

                               GRAYROBINSON, P.A.
                               Attorneys for the Trustee
                               P.O. Box 1026
                               Fort Myers, FL 33902
                               (239) 254-8466
                               Trustee.Rivera@gray-robinson.com

                               By: /s/ Luis E. Rivera II
                                   Luis E. Rivera II
                                   Florida Bar No. 0013913
